          Case 1:22-cr-00007-LKG Document 50 Filed 04/11/22 Page 1 of 1
                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


                                              )
 UNITED STATES OF AMERICA,                    )
                                              )
 v.                                           )       Criminal Case No. 22-cr-00007-LKG
                                              )
 MARILYN J. MOSBY,                            )       Dated: April 11, 2022
                                              )
        Defendant.                            )
                                              )

      AMENDED ORDER PROHIBITING THE USE OF ELECTRONIC DEVICES
       The Court will hold a hearing on defendant’s pre-trial motions on Thursday, April 14,
2022, at 2 p.m., in Courtroom 1A of the Edward A. Garmatz Building, 101 West Lombard
Street, Baltimore, Maryland 21201. During the hearing, no person may possess or transport into
Courtroom 1A any electronic devices, including cellular telephones, cameras, recording devices
of any type, “smart” watches and “smart” pens, computers, laptops, and/or tablets, without the
express permission of the Presiding Judge. All persons subject to this Order are strongly
encouraged not to bring any such electronic devices to the courthouse.
       Exceptions: The prohibition on the use of electronic devices shall not apply to employees
of the United States District Court for the District of Maryland, the United States Marshal or his
Deputies, Court Security Officers, counsel of record in this case, employees of state and federal
law enforcement agencies, and/or investigators and employees of counsel representing parties in
the case, provided that those investigators and employees of counsel are identified to the Court in
advance. In addition, an overflow viewing room will be established in the Jury Assembly Room
on the 4th floor for credentialed members of the news media ONLY, where the use of electronic
devices is permitted. Pursuant to Local Rule 506.1, the recording (both audio and video)
and/or photographing of the proceedings in this matter is strictly prohibited.
      The United States Marshal, his Deputies, and the Court Security Officers shall enforce this
Order.
      IT IS SO ORDERED.
                                                            s/ Lydia Kay Griggsby
                                                            LYDIA KAY GRIGGSBY
                                                            United States District Judge
